              Case 5:22-cv-00270-LCB        Document 59       Filed 10/20/23      Page 1 of 2              FILED
                                                                                                  2023 Oct-20 PM 12:37
                                                                                                  U.S. DISTRICT COURT
                                                                                                      N.D. OF ALABAMA


                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

 MAXRELIEF USA, INC.,                                   )
                                                        )             CIVIL ACTION NO.
                                   Plaintiff,           )
                                                        )              5:22-cv-00270-LCB
 v.                                                     )
                                                        )
 FULFYLD, LLC,                                          )
                                                        )
                                   Defendant.           )


       MOTION TO CONTINUE MOTION HEARING SET FOR OCTOBER 24, 2023
                             (UNOPPOSED)

          Plaintiff MaxRelief USA, Inc., with the consent of Defendant Fulfyld, LLC, respectfully

requests that the Court continue the motion hearing set for October 24, 2023, Doc. 58. In support,

Plaintifff states as follows:

          1.       On October 20, 2023, the Court entered a text order setting a Motion Hearing for

10:00 a.m. on Tuesday, October 24, 2023. (Doc. 58).

          2.       Litigation Counsel for Plaintiff will be in scheduled depositions and traveling out

of the country for business from October 23, 2023, through October 25, 2023.

          3.       Plaintiff therefore respectfully requests that the Court continue the Motion Hearing

until after October 25, 2023.

          4.       Counsel for the Plaintiff has consulted with counsel for the Defendant, and the

Defendant has no objection to the requested extension.




51972831 v1
              Case 5:22-cv-00270-LCB      Document 59        Filed 10/20/23       Page 2 of 2




          Respectfully submitted this October 20, 2023.

                                                                 /s/ Elena L. Bauer
                                                                Elena L. Bauer
                                                                BURR & FORMAN LLP
                                                                420 20th Street N, Suite 3400
                                                                Birmingham, AL 35203
                                                                ebauer@burr.com

                                      CERTIFICATE OF SERVICE

          I hereby certify that I have served a copy of the foregoing document on the following by

Notice of Electronic Filing or, if the party served does not participate in Notice of Electronic Filing,

by U.S. First Class Mail and/or e-mail on this the 20th day of October, 2023:

                                      Charles A. Ray, IV, Esq.
                                    200 Westside Square, Ste. 50
                                          P.O. Box 13545
                                     Huntsville, Alabama 35801
                                          (256) 346-1900
                                      cray@charlesraypc.com


                                                /s/ Elena L. Bauer
                                                Elena L. Bauer




51972831 v1
